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                                                     WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA                                       ORDER OF DETENTION
                       V.                                           PENDING TRIAL
     Julian Christian Thurman                                                                  Case Number:         1:08 Cr 134

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)     The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                      offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                      existed) that is
                            a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                      ✘     for which a maximum term of imprisonment of ten years or more is prescribed in Controlled Substance Act
                      ✘     under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.




                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   defendant is a 30-year old man with no stable residence and no substantial work history. He collects SSI disability yet has
   several cars, has rented many more cars, and has been apprehended with large sums of cash. From 1995 to December 26,
   2005, he was in prison, and was on parole from 2005 until November 22, 2007. He has a daily marijuana and crack cocaine
   habit, and he admits using these drugs while on parole. Defendant has a long and serious criminal history, beginning with
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         May 30, 2008                                                                 /s/ Joseph G. Scoville
                                                                                                                        Signature of Judicial Officer
                                                                                              Joseph G. Scoville, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)

X There is a serious risk that defendant will intimidate witnesses and attempt to obstruct justice.




Part II - Written Statement of Reasons for Detention - (continued)

numerous juvenile adjudications and placements. These included both drug crimes and crimes of violence. His adult
convictions include crack cocaine delivery (1994), receiving stolen property (1994), three counts of assault with intent
to do great bodily harm less than murder and possession of a firearm during commission of a felony (1995). The 1995
convictions arose from defendant's firing at least 12 shots at three people. In addition to these convictions, defendant
has arrests in 2006 and 2007, while he was on parole, for assaultive behavior, but the cases were dropped when the
alleged victims refused to testify.

In the present case, defendant is charged with possession of 50 grams or more of crack cocaine, possession of
firearms by a felon, and possession of firearms in furtherance of a drug trafficking crime. These charges arise out of
incidents that occurred in December 2007, only days after defendant completed state parole. At the detention
hearing, the government presented the testimony of Shenean Harris, defendant's girlfriend and an extremely
recalcitrant witness, which established that defendant threatened and intimidated Harris last week after he learned that
she testified before the Grand Jury in this case.
